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                        UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                      Criminal No. 11-305(22)(DSD/LIB)

United States of America,

                     Plaintiff,

v.                                                                 ORDER

Caine Ramus Starks,

                     Defendant.



      This matter is before the court upon the pro se motion1 by

defendant Caine Ramus Starks for extension of time to file a

petition pursuant to 28 U.S.C. § 2255.             Based on a review of the

file,     record,    and   proceedings   herein,     and   for      the    following

reasons, the court denies the motion.



                                   BACKGROUND

      On December 6, 2011, Starks pleaded guilty to (1) Conspiracy

to Distribute Oxycodone, Oxymporphone and Heroin, in violation of

21 U.S.C. §§ 841(a)(1), (b)(1)(C) and 846 and (2) Using, Carrying

or   Possessing      a   Firearm   During   and    in   Relation      to    a   Drug-

Trafficking Crime, in violation of 18 U.S.C. § 924(c)(1)(A). J. 1,

ECF No. 878.        On July 31, 2012, the court sentenced Starks to 144

months imprisonment.          Id. at 2.          Starks did not appeal             the


      1
       In the typewritten request for materials pertaining to his
case, Starks includes a handwritten request “for more time to
complete [a] 2255 motion.” ECF No. 1129, at 2. Given Starks’s pro
se status, the court construes this as a formal motion for
extension of time.
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judgment.    On July 22, 2013, Starks filed a motion for extension of

time to file a § 2255 petition.       ECF No. 1129.



                                 DISCUSSION

     Motions for relief under § 2255 generally must be filed within

one year of the date on which the judgment of conviction becomes

final.    28 U.S.C. § 2255(f)(1).        Where, as here, a prisoner does

not appeal his conviction, the judgment becomes final when the

fourteen-day period for filing a notice of appeal expires. Anjulo-

Lopez v. United States, 541 F.3d 814, 816 n.2 (8th Cir. 2008)

(citations omitted).    The doctrine of equitable tolling can extend

this period, however, and courts may excuse a late filing “where

extraordinary circumstances beyond a prisoner’s control prevent

timely filing.”    United States v. Martin, 408 F.3d 1089, 1092-93

(8th Cir. 2005) (citations and internal quotation marks omitted).

     Here, Starks has not yet filed a § 2255 petition, and this

court does not have jurisdiction to consider the merits of his

motion.     “[A] federal court lacks jurisdiction to consider the

timeliness of a § 2255 petition until a petition is actually filed.

Prior to an actual filing, there is no case or controversy to be

heard, and any opinion ... on the timeliness issue would be merely

advisory.”    Green v. United States, 260 F.3d 78, 82 (2d Cir. 2001)

(citations and internal quotation marks omitted). As a result, the

court will consider Starks’s § 2255 petition and any equitable


                                     2
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tolling argument after the petition is filed.2          Therefore, because

the court lacks subject-matter jurisdiction, the motion for an

extension of time to file a § 2255 motion is denied.



                                 CONCLUSION

     Accordingly, based on the above, IT IS HEREBY ORDERED that

Starks’s motion for extension of time to file a § 2255 petition

[ECF No. 1129] is denied.


Dated:   July 25, 2013


                                         s/David S. Doty
                                         David S. Doty, Judge
                                         United States District Court




     2
       In so stating, the court makes no representations about the
underlying merits of Starks’s § 2255 petition or the application of
equitable tolling.

                                     3
